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                  IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,          )      CR. NO. 06-00469 HG-KSC
                                   )
            Plaintiff,             )
                                   )      ORDER ADOPTING MAGISTRATE’S
      vs.                          )      FINDINGS AND RECOMMENDATION
                                   )      (DOC. 274) TO DENY DEFENDANT
SYED QADRI(01); PATRICIA           )      SYED QADRI’S MOTION TO
ROSZKOWSKI (02); RUBEN             )      DISMISS INDICTMENT AND
CARILLO GONZALEZ aka “RUBEN        )      SUPERSEDING INDICTMENT (DOC.
CARILLO” (03); JEFFREY             )      258)
GREENHUT (04),                     )
                                   )
          Defendants.              )
_________________________          )

                    ORDER ADOPTING MAGISTRATE’S
          FINDINGS AND RECOMMENDATION (DOC. 274) TO DENY
        DEFENDANT SYED QADRI’S MOTION TO DISMISS INDICTMENT
               AND SUPERSEDING INDICTMENT (DOC. 258)

      Findings and Recommendation having been filed and served on

all parties on July 16, 2009, and no objections having been filed

by any party,

      IT IS HEREBY ORDERED AND ADJUDGED that,             pursuant to Title

28, United States Code, Section 636(b)(1)(C) and Local Rule 74.2,

the Findings and Recommendation, (Doc. 274) are adopted as the

opinion and order of this Court.

      IT IS SO ORDERED.

      DATED: Honolulu, Hawaii, August 26, 2009.




                                                         /S/ Helen Gillmor
                                   Helen Gillmor
                                   United States District Judge
